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 8                        IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                  EASTERN DISTRICT OF CALIFORNIA
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11   ALFRED BROWN,                                          1:04-cv-06539-AWI-SMS-PC
12                     Plaintiff,                           ORDER GRANTING PLAINTIFF'S
                                                            SECOND MOTION TO EXTEND TIME
13            vs.                                           TO FILE OBJECTIONS TO THE
                                                            MAGISTRATE JUDGE'S FINDINGS AND
14   DAVID KYLE, MD, et al.,                                RECOMMENDATION
                                                            (DOCUMENT #21)
15                     Defendants.
                                                            DEADLINE OF JANUARY 13, 2009
16   ________________________________/
17            Plaintiff is a prisoner proceeding pro se in a civil rights action pursuant to 42 U.S.C. §
18   1983. On November 5, 2008, plaintiff filed a motion to extend time until January 13, 2009 in
19   which to file objections to the Magistrate Judge's findings and recommendation. Good cause
20   having been presented to the court and GOOD CAUSE APPEARING THEREFOR, IT IS
21   HEREBY ORDERED that:
22            Plaintiff is granted an extension of time until January 13, 2009 in which to file
23   objections to the Magistrate Judge’s findings and recommendation of September 4, 2008.
24   IT IS SO ORDERED.
25   Dated:         November 7, 2008                    /s/ Sandra M. Snyder
     220hhe                                      UNITED STATES MAGISTRATE JUDGE
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